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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


In re:                                                                Chapter 11

iMedia Brands, Inc., et al.,1                                         Case No. 23-10852 (KBO)

                                            Debtors.                  (Jointly Administered)

                                                                      Re: Docket Nos. 18, 61
                                                                              Objection Deadline: At the hearing
                                                                      Hearing Date: July 5, 2023 at 2:00 p.m. (ET)

             NOTICE OF ENTRY OF INTERIM ORDER AND FURTHER
        INTERIM HEARING REGARDING DEBTORS’ MOTION FOR ENTRY OF
      INTERIM AND FINAL ORDERS (I) AUTHORIZING POSTPETITION USE OF
     CASH COLLATERAL; (II) GRANTING ADEQUATE PROTECTION TO CERTAIN
       PREPETITION SECURED PARTIES AND C&B NEWCO; (III) SCHEDULING
       A SECOND INTERIM HEARING; AND (IV) GRANTING RELATED RELIEF

                    PLEASE TAKE NOTICE that on June 29, 2023, the above-captioned debtors

 and debtors in possession (collectively, the “Debtors”) filed the Debtors’ Motion for Entry of

 Interim and Final Orders (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting

 Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III) Scheduling a

 Second Interim Hearing; and (IV) Granting Related Relief (the “Motion”) [Docket No. 18] with

 the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). A

 copy of the Motion is attached hereto as Exhibit 1.

                    PLEASE TAKE FURTHER NOTICE that the Debtors presented certain first-

 day motions at a hearing before the Honorable Karen B. Owens at the Bankruptcy Court on June


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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
 Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
 (2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
 Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
 service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.



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30, 2023. The Bankruptcy Court granted the relief requested by the Motion on an interim basis

and entered the Interim Order (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting

Adequate Protection to Prepetition Secured Parties and C&B Newco; (III) Scheduling a Second

Interim Hearing; and (IV) Granting Related Relief (the “Interim Order”) [Docket No. 61],

attached hereto as Exhibit 2.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry of a further interim order with respect to the relief sought in the Motion must be filed with

the Bankruptcy Court before the further interim hearing or presented at the further interim

hearing.

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) the proposed counsel to the Debtors,

(a) Ropes & Gray LLP, 1211 Avenue of the Americas, New York, New York 10036, (Attn:

Ryan       Preston    Dahl   (ryan.dahl@ropesgray.com)     and    Cristine   Pirro   Schwarzman

(cristine.schwarzman@ropesgray.com); (b) Ropes & Gray LLP, 191 North Wacker Drive, 32nd

Floor, Chicago, Illinois 60606 (Attn: Stephen L. Iacovo (stephen.iacovo@ropesgray.com) and

(c) Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, Wilmington,

Delaware 19801, Attn: Laura Davis Jones, Esq. (ljones@pszjlaw.com) and Timothy P. Cairns,

Esq. (tcairns@pszjlaw.com); (ii) the Office of The United States Trustee, 844 King Street, Suite

2207, Lockbox 35, Wilmington, Delaware 19801, Attn:              Richard L. Schepacarter, Esq.

(richard.schepacarter@usdoj.gov); and (iii) counsel to any statutory committee appointed in

these chapter 11 cases.

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE FURTHER



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INTERIM RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE FURTHER INTERIM RELIEF SOUGHT IN THE MOTION WILL BE HELD ON JULY

5, 2023 AT 2:00 P.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE

KAREN B. OWENS, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET

STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801.




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Dated: June 30, 2023                   PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
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                                       Timothy P. Cairns (DE Bar No. 4228)
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                                       -and-

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                                       Proposed Counsel to the Debtors and Debtors in Possession




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